Case 8:24-cv-00409-JLS-DFM Document 39 Filed 06/05/24 Page 1 of 7 Page ID #:365
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   7                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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        SCOTT L. HULTNER , et al.                  Case No.: 8:24−cv−00409−JLS−DFM
   10
                                                   ORDER SETTING SCHEDULING
   11                                              CONFERENCE FOR AUGUST 9,
                       Plaintiff(s),
                                                   2024 AT 10:30 AM, COURTROOM
   12         v.                                   8A, FIRST STREET
                                                   COURTHOUSE
   13 AIR AND LIQUID SYSTEMS
        CORPORATION, et al.
   14
   15
                     Defendant(s).
   16
   17
   18         Judge Staton’s Procedures web page is incorporated in this Order.

   19         The parties and counsel are ORDERED to review and comply with those

   20    procedures and notices, which may be accessed at:

   21                  http://www.cacd.uscourts.gov/honorable-josephine-l-staton.

   22         This case has been assigned to Judge Josephine L. Staton. If plaintiff has

   23    not already served the complaint (or any amendment thereto) on all defendants,

   24    plaintiff shall promptly do so and shall file proofs of service within three (3) days

   25    thereafter. Defendants also shall timely serve and file their responsive pleadings

   26    and file proofs of service within three days thereafter.

   27         This case is set for a scheduling conference under Federal Rule of Civil

   28    Procedure 16(b) on the date and time stated in the caption of this Order, in


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   1    Courtroom 8A of the First Street Courthouse, 350 West 1st Street, Los Angeles,

   2    California. Unless excused for good cause shown in advance of the scheduling

   3    conference, lead counsel shall appear at the scheduling conference and at all

   4    pretrial hearings fully informed concerning the facts of the case. If the Court

   5    determines that a Scheduling Order can be issued based on the Joint Rule 26(f)

   6    Report, the scheduling conference will be vacated.

   7
   8         Attached to this Order, as Exhibit A, are the Court’s presumptive dates.

   9    Parties wishing to deviate from this schedule shall provide the Court with reasons

   10   for each suggested change. A Joint Rule 26(f) Report that is filed without a

   11   fully completed Exhibit A will be rejected by the Court and may subject the

   12   parties to sanctions.

   13
   14        In civil cases, the Court defers setting a trial date and an exhibit conference

   15   date until the parties appear for the Final Pretrial Conference. The parties are

   16   expected to address these issues at the Final Pretrial Conference; therefore, the

   17   parties are directed to confer before the Final Pretrial Conference to identify

   18   mutually agreeable trial date(s) within the 90 days following the Final Pretrial

   19   Conference. Where the Court’s trial calendar permits, the Court will set the trial

   20   for a date agreed upon by the parties.

   21
   22        1.     Joint Rule 26(f) Report

   23        As provided in Fed. R. Civ. P. 26(f), the parties shall meet at least 21 days

   24   before the scheduling conference and file a Joint 26(f) Report (“Report”) no later

   25   than 14 days before the date set for the scheduling conference. The Report shall

   26   be drafted by plaintiff (unless the parties agree otherwise), but shall be submitted

   27   and signed jointly. “Jointly” contemplates a single report, regardless of how many

   28   separately represented parties there are.


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   1          The Report shall discuss the issues described below. Counsel are to ensure

   2    that their discussions of these issues fully address the topics identified by Federal

   3    Rule of Civil Procedure 26(f)(3)(A)-(F) and Local Rule 26-1(a)-(f).

   4                a.      Statement of the case: a short synopsis (not to exceed two

   5    pages) of the main claims, counterclaims, and affirmative defenses.

   6                b.      Legal issues: a brief description of the key legal issues,

   7    including any unusual substantive, procedural, or evidentiary issues.

   8                c.     Damages: the realistic range of provable damages.

   9                d.      Insurance: whether there is insurance coverage, the extent of

   10   coverage, and whether there is a reservation of rights.

   11               e.     Motions: a statement of the likelihood of motions seeking to add

   12   other parties or claims (see Local Rule 26-1(e)), file amended pleadings, to dismiss

   13   for lack of jurisdiction, or to transfer venue.

   14               f.     Complexity: a discussion regarding the complexity of the case,

   15   and whether all or part of the procedures of the Manual for Complex Litigation

   16   should be utilized. See Local Rule 26-1(a).

   17               g.      Status of Discovery: a report regarding the current status of

   18   discovery, including whether initial disclosures have been made and a summary

   19   of any completed discovery.

   20               h.      Discovery Plan: The parties must set forth a detailed discovery

   21   plan that discusses all the Federal Rule of Civil Procedure 26(f)(3)(A)-(F) topics,

   22   including topics related to initial discloses, the anticipated subjects of discovery,

   23   the time needed for discovery, issues related to electronically stored information

   24   (“ESI”), issues related to privileged materials, whether changes to limitations on

   25   discovery should be made, issues related to protective orders, and any other Rule

   26   16(b) or 16(c) issues. The parties must propose a discovery cutoff date for the

   27   completion of fact discovery.

   28   ///


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   1                i.     Expert Discovery: The parties shall discuss the timing of expert

   2    disclosures and discovery. See Fed. R. Civ. P. 26(a)(2); Local Rule 26-1(f).

   3                j.      Dispositive motions: The parties shall set forth a description

   4    of the issues or claims that any party believes may be determined by motion for

   5    summary judgment or partial summary judgment. See Local Rule 26-1(b).

   6                k.     Alternative Dispute Resolution (“ADR”) Procedure Selection:

   7    The parties must select either ADR Procedure No. 2 (Court Mediation Panel) or

   8    ADR Procedure No. 3 (private mediation); ADR Procedure No. 1 (conference with

   9    the magistrate judge) may not be selected by the parties. See generally General

   10   Order 11-10, § 5.1; Local Rule 26-1(c). For more information about the Court’s

   11   ADR Program, please visit the “ADR” section of the Court website,

   12   http://www.cacd.uscourts.gov.

   13                l.    Settlement Efforts: Without disclosing the substance of the

   14   communications, the parties shall advise the Court regarding whether they have

   15   discussed settlement or had written communications regarding settlement. The

   16   parties are advised that no case will proceed to trial unless all parties, including

   17   the principals of all corporate parties, have appeared personally at a mediation.

   18               m.      Preliminary Trial Estimate: The parties must provide a

   19   realistic estimate of the time required for trial. See Local Rule 26-1(d). The parties’

   20   estimate is for planning purposes only; the Court may allot fewer days for trial.

   21   The parties shall specify whether trial will be by jury or to the Court, and each side

   22   must specify the number of witnesses it expects to call.

   23               n.     Trial counsel: the name(s) of the attorney(s) who will try the

   24   case.

   25               o.     Independent Expert or Master: The parties must advise the

   26   Court whether this is a case in which a master pursuant to Federal Rule of Civil

   27   Procedure 53 or an independent scientific expert should be appointed. The

   28   appointment of a master may be appropriate if there are likely to be substantial


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   1    discovery disputes, numerous claims to be construed in connection with a summary

   2    judgment motion, a lengthy Daubert hearing, or resolution of a difficult

   3    computation of damages.

   4                p.     Other issues: a statement of any other issues affecting the status

   5    or management of the case (e.g., unusually complicated technical or technological

   6    issues, disputes over protective orders, extraordinarily voluminous document

   7    production, non-English speaking witnesses, discovery in foreign jurisdictions, etc.)

   8    and any proposals concerning severance, bifurcation, or other ordering of proof.

   9
   10        2.     Notice to be Provided by Counsel

   11        Plaintiff’s counsel shall provide this Order to any parties who first appear

   12   after the date of this Order and to parties who are known to exist but have not yet

   13   entered appearances. If plaintiff is appearing pro se, but defendant is represented

   14   by counsel, defendant’s counsel shall provide this notice.

   15
   16        3.     Disclosures to Clients

   17        Counsel are ordered to deliver to their respective clients a copy of this Order,

   18   the Court’s trial order, and the Scheduling order.

   19
   20        4.     Class Actions

   21        The parties are directed to the portion of Judge Staton’s Procedures web page

   22   (http://www.cacd.uscourts.gov/honorable-josephine-l-staton.) regarding class action

   23   scheduling issues. As explained in further detail on the web page, the parties are

   24   directed to discuss class action scheduling issues in their Joint Rule 26(f) Report.

   25
   26        5.     Utility Patent Cases

   27               a. Presumptive Schedule and Exhibit B: In patent cases, the Court

   28   intends generally to follow the Northern District of California Patent Local Rules.


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   1     However, the Court’s presumptive schedule differs from that set forth in the

   2     Northern District Rules and, where it does, the Court’s presumptive schedule

   3     controls. In patent cases, counsel should review, prepare, and attach the Court’s

   4     Joint Rule 26(f) Report utility patent-specific Exhibit B (in lieu of the Exhibit A).

   5     Exhibit B is available on Judge Staton’s Procedures web page.

   6                 b. Technology Tutorial: Because the Court may be unfamiliar with

   7     the technology underlying many litigated patents, the parties should consider the

   8     most efficient and effective manner in which to educate the Court regarding that

   9     technology. Counsel must file a joint status report setting forth their proposal(s) no

   10    later than 60 days in advance of the claim construction hearing. If the Court deems

   11    it appropriate, the Court will schedule an in-Court technology tutorial or make other

   12    appropriate orders. Counsel are strongly encouraged to present any educational

   13    materials in a manner that is free of advocacy and unencumbered by each side’s

   14    respective litigation position(s).

   15         The Court thanks the parties and their counsel for their anticipated cooperation

   16    in complying with the requirements set forth in this Order.

   17
            IT IS SO ORDERED.
   18
        Dated: June 5, 2024                          JOSEPHINE L. STATON
   19
                                                     United States District Judge
   20
   21    Revised: September 12, 2023
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                           EXHIBIT A
           PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES

    CASE NAME:
    CASE NO:

                                                          Plaintiff(s)    Defendant(s)
               Matter                   Deadline           Request          Request

     Last Day to File Motions to      Scheduling
     Add Parties and Amend          Conference Date
     Pleadings                       plus 8 weeks

                                    Depending on case
                                        complexity,
     Fact Discovery                 generally a Friday
     Cut-Off                       between 6-9 months
                                   after the Scheduling
                                       Conference

     Last Day to Serve Initial     2 weeks after Fact
     Expert Reports                Discovery Cut-Off

     Last Day to File Motions      2 weeks after Fact
     (except Daubert and all       Discovery Cut-Off
     other Motions in Limine)

     Last Day to Serve Rebuttal    6 weeks after Fact
     Expert Reports                Discovery Cut-Off

     Last Day to Conduct           9 weeks after Fact
     Settlement Proceedings        Discovery Cut-Off

                                   10 weeks after Fact
     Expert Discovery Cut-Off      Discovery Cut-Off

     Last Day to File Daubert      1 week after Expert
                                   Discovery Cut-Off
     Motions:
                                   4 weeks before the
     Last Day to File Motions in        FPTC
     Limine:
                                   22 weeks after Fact
     Final Pre-Trial Conference    Discovery Cut-Off
     (Friday at 10:30 a.m.)

    Revised: September 12, 2023




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